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                           ALATUS AEROSYSTEMS, a
                       7   California Corporation
                       8                          UNITED STATES DISTRICT COURT
                       9                        CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11   ALATUS AEROSYSTEMS, a                   CASE NO. 19-cv-1869
                           California corporation,
                      12                                           COMPLAINT FOR DAMAGES:
                                          Plaintiff,
                      13                                             1. Misappropriation of Trade
                                  v.
                      14                                                Secrets under the Defend Trade
                           MARIO VELAZQUEZ, an individual,              Secrets Act (18 U.S.C. §1836 et
                      15   and DOES 1 through 50, inclusive             seq.)
                      16                                             2. Computer Fraud and Abuse Act
                                          Defendants.                   (18 U.S.C. § 1030)
                      17
                                                                     3. Breach of Fiduciary Duty of
                      18
                                                                        Loyalty
                      19
                                                                     4. Breach of Contract
                      20                                             5. Failure to Use Ordinary Care
                      21                                                and Diligence under Labor Code
                                                                        § 2854
                      22
                                                                     6. Failure to Comply with
                      23                                                Employer’s Directions under
                      24                                                Labor Code § 2856
                      25                                             7. Failure to Give Preference to
                                                                        Performance of Employer’s
                      26                                                Business under Labor Code
                      27                                                § 2863

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                       1                                         8. Violation of California Penal
                       2                                            Code § 502

                       3                                         9. Misappropriation of Trade
                                                                    Secrets under the California
                       4                                            Uniform Trade Secrets Act
                       5                                            (California Civil Code §§ 3426 -
                                                                    3426.11)
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                                                               DEMAND FOR JURY TRIAL
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                       1         Plaintiff Alatus Aerosystems (“Alatus”) hereby brings this complaint for
                       2   damages and injunctive relief, pursuant to the subject matter jurisdiction of this
                       3   Court under 28 U.S.C. § 1332, 28 U.S.C. § 1331, and 29 U.S.C. § 1367, against
                       4   Defendants Mario Velazquez (“Velazquez”) and DOES 1 through 50, inclusive,
                       5   collectively referred to as “Defendants”, and alleges the following:
                       6                                    INTRODUCTION
                       7         This is a case about theft of an employer’s most important, and protected,
                       8   trade secrets. Velazquez stole at least ten key documents from Alatus at the end of
                       9   his employment, when he still had access to confidential information and the trust
                      10   of Alatus. He emailed these documents to himself, so he could access them when
                      11   he departed and began his new employment. When Alatus discovered this theft, it
                      12   immediately contacted Velazquez to return this information. Velazquez returned
                      13   approximately eight documents. Alatus noted this discrepancy and again asked
                      14   Velazquez to return all Alatus documents he had in his possession. Velazquez
                      15   again claimed he had returned all documents, which was plainly untrue. This left
                      16   Alatus with no choice but to bring this action to recover the Alatus documents that
                      17   he continues to possess and use to the detriment of Alatus.
                      18         These actions unjustly enriched Velazquez who is striving to evade the cost,
                      19   time, and risk of building a competing business from scratch and/or consulting with
                      20   competitors of Alatus. In doing so, Velazquez breached his fiduciary duties, stole
                      21   Alatus’ trade secrets, and accessed Alatus’ secured computer systems without
                      22   permission.
                      23         Velazquez’s unlawful actions, all of which were undertaken with malicious
                      24   intent, far exceed the norms of fair competition. These transgressions, if left
                      25   unchecked, would not only irreparably damage Alatus, but would also undermine
                      26   basic principles of fairness upon which businesses, employees, and consumers
                      27   operate and rely.
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                       1                             JURISDICTION AND VENUE
                       2         1.     The Court has subject matter jurisdiction of this action pursuant to
                       3   28 U.S.C. § 1331 because this action arises under federal statutes, including the
                       4   Computer Fraud and Abuse Act, 18 U.S.C § 1030, and the Defend Trade Secrets
                       5   Act, 18 U.S.C. § 1836 et seq. The Court has supplemental jurisdiction over the
                       6   remaining state law claims under 28 U.S.C. § 1367 as those claims are so related to
                       7   Plaintiff’s federal claims that they form part of the same case or controversy.
                       8         2.     This Court has personal jurisdiction over Velazquez because, on
                       9   information and belief, this lawsuit arises out of Velazquez’s purposeful and
                      10   unlawful conduct occurring within the State of California and in this District.
                      11         3.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a
                      12   substantial part of the events giving rise to the claims raised in this lawsuit occurred
                      13   in this district. Venue is also proper in this district under 28 U.S.C. § 1391(b)(1)
                      14   because Defendant resides in this district.
                      15                                      THE PARTIES
                      16         4.     Plaintiff Alatus is, and at all times relevant herein was, a corporation
                      17   organized and existing under the laws of the State of California, and having a
                      18   principal place of business at 17055 East Gale Ave., City of Industry, California,
                      19   91745.
                      20         5.     Defendant Velazquez is, and at all times relevant herein was, a U.S.
                      21   citizen domiciled in California. Defendant Velazquez was employed by Alatus for
                      22   approximately five years, and was most employed as a program manager.
                      23   Defendant Velazquez would regularly work out of the Brea location in Orange
                      24   County, as well as Alatus’ Walnut location located in Los Angeles County.
                      25   Defendant Velazquez was terminated from Alatus on or around February 19, 2019
                      26   when his position was eliminated, and on information and belief, he is currently
                      27   operating his own aerospace consulting firm known as Aero Management
                      28   Solutions, which he formed on June 13, 2019.
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                       1         6.      Alatus does not know the true names or capacities, whether individual,
                       2   partner or corporate, of the defendants sued herein as DOES 1 through 50,
                       3   inclusive, and for that reason, said defendants are sued under such fictitious names,
                       4   and Alatus prays for leave to amend this complaint when true names and capacities
                       5   are known. Alatus is informed and believes and based thereon alleges that each of
                       6   said fictitious defendants was responsible in some way for the matters alleged
                       7   herein and proximately caused Alatus and members of the general public to be
                       8   subject to the illegal actions, wrongs, and injuries complained of herein.
                       9         7.      Upon information and belief, each of the Defendants was the agent,
                      10   principal, employee, representative, or alter ego of the other Defendants and/or
                      11   acted with one or more of the other Defendants’ knowledge, consent and approval,
                      12   and acted within the course and scope of their agency or representative capacity.
                      13   As such, each of the Defendants is responsible for the actions of the other
                      14   Defendants, as alleged herein.
                      15         8.      Upon information and belief, at all times pertinent hereto, each of the
                      16   Defendants was an aider, abettor, or co-conspirator of each of the other Defendants.
                      17   Each of the Defendants acted within the course and scope of such conspiracy or in
                      18   the course and scope of a common plan and scheme described below; and each of
                      19   the Defendants was in some manner responsible for the acts and omissions alleged
                      20   in these causes of action. Upon information and belief, each of the Defendants has
                      21   ratified and/or approved each of the acts and omissions of each of the other
                      22   Defendants.
                      23         9.      Upon information and belief, in taking the actions described in this
                      24   complaint, Defendants acted intentionally, in concert, and pursuant to an agreement
                      25   between and among them, the purpose of which was to obtain and convert trade
                      26   secret, confidential, and proprietary information, documents, data, work product,
                      27   business opportunities, and other property belonging to Alatus, to use such property
                      28   for their own benefit and for their own competitive business advantage, and to
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                       1   deprive Alatus of the use of such property in its business. Upon information and
                       2   belief, each of these Defendants knew of and agreed to both the objective and
                       3   course of action to deprive Alatus of such property and to cause competitive injury
                       4   to Alatus’ business. The wrongful acts and damage caused to Alatus as a result of
                       5   Defendants’ conspiracy are set forth in detail below.
                       6                              FACTUAL BACKGROUND
                       7                                     Alatus’ Business
                       8         10.    Plaintiff Alatus is a longstanding California business that assembles,
                       9   manufactures, and supplies parts and products for use in the aerospace and defense
                      10   industries. With more than 50-years of experience serving clients across the state
                      11   and nation, Alatus has earned a reputation as a leading provider of aviation
                      12   components and systems. Alatus has four locations in Southern California
                      13   including the City of Industry, Chatsworth, Walnut, and Brea.
                      14         11.    Alatus specializes in manufacturing wings, landing gear, and engine
                      15   pylons for commercial clients. Alatus’ reputation has also attracted numerous
                      16   defense contractors and the United States Government. Alatus assembles and
                      17   supplies key military products, including aviation and artillery systems used by the
                      18   nation’s armed services.
                      19         12.    As a defense contractor, Alatus is subject to the International Traffic in
                      20   Arms Regulations (“ITAR”). ITAR controls the manufacture, sale, and distribution
                      21   of defense-related products, services, and information. Alatus invests great
                      22   resources to maintain compliance with ITAR and ensure all information entrusted
                      23   to Alatus by its partners and customers is kept in strict confidence.
                      24         13.     In part because of the sensitive nature of its work, Alatus has
                      25   substantial security protocols in place regarding its confidential information. This
                      26   includes specific training provided to employees regarding, among other things,
                      27   compliance with confidentiality obligations, compliance with export controls, and
                      28   compliance with internal business conduct rules. Individuals who access the Alatus
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                       1   computer system must utilize their own specific username and password, and there
                       2   are restrictions on who can access certain levels of information within the
                       3   organization. Individuals who sometimes work outside of the office are given an
                       4   Alatus computer to use to access the Alatus computer system through a secure VPN
                       5   connection. Individuals who depart Alatus take part in an exit interview to confirm
                       6   that they (1) are aware of their ongoing confidentiality obligations, and (2) are not
                       7   in possession of any Alatus property.
                       8          Defendant’s Employment with Alatus and Subsequent Termination
                       9         14.    Defendant Mario Velazquez is Alatus’ former program manager. As
                      10   part of his duties, Defendant Velazquez was responsible for interfacing between the
                      11   Alatus production department and Alatus customers to facilitate customer orders
                      12   and ensure timely delivery of parts and products.
                      13         15.    Mr. Velazquez was originally hired by Triumph Structures – Los
                      14   Angeles, Inc. (“TSLA”) on or around June 9, 2014. He subsequently became an
                      15   employee of Alatus on August 22, 2018 when Aerospace Systems and Structures,
                      16   LLC acquired 100% of the issued and outstanding stock of TSLA and on August
                      17   23, 2018, changed the name of TSLA to Alatus. Mr. Velazquez worked primarily
                      18   in the Brea and Walnut offices for Alatus.
                      19         16.    As a condition of his employment with Alatus (and previously TSLA),
                      20   Defendant Velazquez entered into an employment agreement effective June 9,
                      21   2014. This was later supplemented by an additional mutual confidentiality
                      22   agreement executed on June 16, 2016. He was specifically trained on the proper
                      23   handling of confidential and proprietary information including 42 C.F.R., and on
                      24   export controls (ITAR).
                      25         17.    On or about February 20, 2019, Alatus terminated Defendant’s
                      26   employment when his position was eliminated.
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                       1          Defendant’s Departure and Misappropriation of Alatus’ Trade Secrets
                       2         18.     Upon information and belief, Defendant Velazquez’s unlawful taking
                       3   of Alatus’ trade secrets was driven by his individual desire to depart Alatus and
                       4   start a competing business with a former Alatus executive, Richard Oak. Alatus
                       5   terminated Mr. Oak’s employment in early February 2019 due to poor performance.
                       6   Defendant Velazquez and Mr. Oak were close associates prior to their termination,
                       7   and upon information and belief, are currently working on a joint business venture
                       8   competitive with Alatus’ business.
                       9         19.     After the termination of Defendant Velazquez’s employment, Alatus
                      10   engaged counsel to investigate whether Defendant Velazquez complied with his
                      11   employment obligations leading up to his exit from the company. As part of the
                      12   investigation, Alatus’ counsel conducted a forensic examination of Velazquez’s
                      13   company account. This led to the discovery that Defendant Velazquez had
                      14   purposely emailed at least ten sensitive company documents containing Alatus’
                      15   trade secrets to his personal email address mere days before his termination.
                      16         20.    Alatus subsequently demanded the return of these confidential
                      17   documents in August and September 2019. In response, Defendant Velazquez
                      18   returned approximately eight documents, claiming he had returned all of Alatus’
                      19   proprietary information in his possession. Velazquez’s statements were plainly
                      20   misleading given Alatus identified at least two highly sensitive documents still
                      21   missing from his production.
                      22         21.    These documents contain Alatus’ most coveted trade secrets, such as
                      23   Alatus’ entire pricing lists, containing a complete compilation of its customers, a
                      24   list of the parts and products ordered by those customers, and Alatus’ competitive
                      25   pricing for those orders, and the materials required to build the products. These
                      26   documents further contain confidential and proprietary information relating to each
                      27   machining asset, including its operating system, and capacity. These documents are
                      28   among Alatus’ most important trade secrets.
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                       1          22.     Alatus has taken great steps to guard its trade secrets from misuse.
                       2   Alatus requires all employees to sign confidentiality agreements, and limits access
                       3   to these documents on a need-to-know basis for a select group of Alatus executives
                       4   and managers—which included Defendant Velazquez.
                       5          23.     Alatus’ security procedures are also heightened pursuant to ITAR.
                       6   Alatus ensures all employees with access to Alatus’ confidential information are
                       7   U.S. citizens, and further restricts access to all of its facilities using a visual
                       8   compliance system requiring photographic identification of all visitors and
                       9   restricting access to unauthorized individuals. Anyone at Alatus needing to access
                      10   its systems must do so using their individual username and password. Any
                      11   employee who works from home is given a company-issued laptop so they can
                      12   access the Alatus network using a secure VPN network, and any work they do can
                      13   be saved on a company (versus personal) computer.
                      14          24.      Alatus brings this action to recover its sensitive trade secrets from
                      15   Defendant Velazquez and all those in concert with him. Upon information and
                      16   belief, Defendant Velazquez and his conspirators are using Alatus’ trade secrets to
                      17   form a competitive venture. These trade secrets are the product of more than 50-
                      18   years of hard earned labor.
                      19          25.      As a direct and proximate result of Defendants’ wrongful conduct,
                      20   Alatus has suffered extensive damages in an amount to be proven at trial. Such
                      21   damages include the expenses associated with investigating Defendants’ wrongful
                      22   conduct, lost business opportunities and profits, and disclosure of this sensitive
                      23   information to third parties, including Defendant’s Velazquez’s new company
                      24   which is in competition with Alatus. Alatus also seeks recovery for lost business
                      25   goodwill as a result of Defendant’s misappropriation of Alatus’ confidential
                      26   information.
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                       1         26.    Alatus also demands specific performance requiring Defendants to
                       2   immediately return Alatus’ trade secrets and any other proprietary information in
                       3   Defendants’ possession, custody, and control.
                       4         27.     Alatus further demands the right to inspect Defendant Velazquez’s
                       5   personal computer and cloud based personal accounts to determine who he has
                       6   shared that that trade secret information and any other proprietary information with.
                       7         28.    Defendants have also greatly and unjustly enriched themselves using
                       8   these trade secrets at Alatus’ expense.
                       9                            FIRST CAUSE OF ACTION
                                             Misappropriation of Trade Secrets under the
                      10                   Defend Trade Secrets Act (18 U.S.C. §1836 et seq.)
                                                      (Against All Defendants)
                      11
                      12         29.    Alatus incorporates the preceding allegations as if fully set forth
                      13   herein.
                      14         30.    Alatus has developed and marketed an extremely successful aerospace
                      15   and defense manufacturing business serving numerous customers for private and
                      16   defense related purposes that is highly dependent upon maintaining the secrecy of
                      17   its trade secrets and other confidential and propriety information.
                      18         31.    As a result of Defendant Velazquez’s employment with Alatus and
                      19   entrusted positions as part of Alatus’ management team, Velazquez came into
                      20   possession of information that Alatus considered to be confidential and propriety
                      21   and trade secret information having independent economic value and not generally
                      22   known or readily available to the public, including Alatus’ competitors and
                      23   customers. Alatus expended substantial time, energy, money and ingenuity in
                      24   compiling this information based on its own efforts and communications with
                      25   clients, prospective clients, and others.
                      26         32.    The confidential, proprietary, and trade secret information to which
                      27   Velazquez had access and of which he came into possession includes but is not
                      28   limited to: Alatus’ customer pricing and order lists and manufacturing blueprints.
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                       1   Alatus granted Defendant Velazquez with access to Alatus’ confidential
                       2   information solely for the purpose of fulfilling his responsibilities to Alatus.
                       3         33.       Alatus made reasonable efforts to ensure that the confidential and
                       4   proprietary information remained secret by, among other things, disclosing it only
                       5   to those individuals who needed the information to perform their duties, making
                       6   known to these individuals the fact that information was to be kept confidential,
                       7   maintaining reasonable security in and around its places of business, and requiring
                       8   individuals, such as the Velazquez, to agree to keep its confidence including by
                       9   executing written agreements affirming their obligation to keep such information
                      10   confidential.
                      11         34.       Alatus’ confidential information constitutes protectable trade secrets
                      12   under the federal Defend Trade Secrets Act, codified at 18 U.S.C. §1836 et seq.
                      13   (“DTSA”).
                      14         35.       Alatus is informed and believes, and thereon alleges, that the
                      15   Defendants violated the DTSA by misappropriating the trade secrets embodied in
                      16   Alatus’ confidential information in a willful manner and with the deliberate intent
                      17   to injure Alatus’ business, and to improve Defendants’ own business and for their
                      18   own financial gain–including, without limitation and as further set forth above, by
                      19   (1) ratifying and/or knowingly benefiting from the downloading of trade secret
                      20   information from Alatus’ computer servers and transferring that information to
                      21   personal computers and/or to the Defendants’ computers; (2) disclosing to Alatus’
                      22   competitors confidential and trade secret information pertaining to Alatus’
                      23   finances, client revenues, and expectations for future revenue; (3) disclosing Alatus
                      24   confidential pricing information and renewal data pertaining to Alatus customers
                      25   and suppliers; (4) using Alatus trade secrets pertaining to their clients and pricing
                      26   structures to unlawfully solicit Alatus customers to transfer their business to Alatus
                      27   competitors; (5) using Alatus’ trade secrets for their own benefit and that of Alatus’
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                       1   competitors; and (6) removing hard copy documents and deleting electronic
                       2   documents containing Alatus confidential information and trade secrets.
                       3            36.   As a proximate result of the misappropriation of Alatus’ trade secrets,
                       4   Alatus has suffered, and will continue to suffer, actual damages, and Defendants
                       5   will be unjustly enriched, in sums to be proven at trial. Alatus has also suffered and
                       6   will continue to suffer immediate and irreparable harm, and will continue to suffer
                       7   such injury until the breaches are preliminarily and permanently enjoined.
                       8            37.   Under the DTSA, Alatus is entitled to recover its reasonable attorneys’
                       9   fees as a result of the Defendants’ willful and malicious misappropriation.
                      10            38.   The misappropriation and wrongful acts of Defendants were
                      11   intentional, malicious, and in bad faith and have subjected and will continue to
                      12   subject Alatus to cruel and unjust hardship in conscious disregard of Alatus’ rights,
                      13   so as to justify an award of exemplary and punitive damages according to proof at
                      14   trial.
                      15                           SECOND CAUSE OF ACTION
                                            Computer Fraud and Abuse Act (18 U.S.C. § 1030)
                      16                                 (Against Velazquez)
                      17            39.   Alatus incorporates the preceding allegations as if fully set forth
                      18   herein.
                      19            40.   At all relevant times herein, Alatus’ computer system or systems
                      20   constituted a “protected computer” within the meaning of 18 U.S.C. § 1030(e)(2),
                      21   in that they were used in or affecting interstate or foreign commerce or
                      22   communication.
                      23            41.   At all relevant times herein, Alatus maintained a policy, which
                      24   prohibits, among other things, accessing data, a server, a network or an account for
                      25   any purpose other than conducting approved Alatus business; revealing Alatus
                      26   system passwords to others or allowing use of the individual’s account by others;
                      27   circumventing user authentication or security; providing information about, or lists
                      28   of, Alatus users to parties outside Alatus; effecting security breaches or disruptions
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                       1   of Alatus system resources, including but not limited to accessing data of which the
                       2   individual is not an intended recipient or logging into a server or account that the
                       3   individual is not expressly authorized to access.
                       4         42.    Velazquez violated the Computer Fraud and Abuse Act, 18 U.S.C.
                       5   § 1030, (“CFAA”) by intentionally accessing a computer used for interstate
                       6   commerce or communication without authorization or by exceeding authorized
                       7   access to such a computer, and by obtaining information from such a computer,
                       8   including but not limited to, (1) accessing Alatus’ electronic devices and other
                       9   devices containing Alatus information or access thereto, including without
                      10   limitation the tablets, computers, and smart phones of Velazquez, (2) accessing
                      11   Alatus’ electronic systems and the information contained therein, including
                      12   without limitation its Trade Secrets, and (3) accessing Alatus’
                      13   internet/intranet/extranet-related systems, including without limitation computer
                      14   equipment, laptops, tablets, cellphones, software, operating systems, storage media,
                      15   network accounts, email, web browsing, file transfer mechanisms, and the
                      16   information transacted and/or created using them, among other acts upon
                      17   information and belief. Alatus has also suffered and will continue to suffer
                      18   immediate and irreparable harm, and will continue to suffer such injury until the
                      19   breaches are preliminarily and permanently enjoined.
                      20         43.    As a proximate result of Velazquez’s conduct, Alatus has suffered, and
                      21   will continue to suffer, actual damages, and Velazquez will be unjustly enriched, in
                      22   amounts to be proven at trial.
                      23         44.    The acts of Velazquez was intentional, malicious, and in bad faith and
                      24   have subjected and will continue to subject Alatus to cruel and unjust hardship in
                      25   conscious disregard of Alatus’ rights, so as to justify an award of exemplary and
                      26   punitive damages according to proof at trial.
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                       1                             THIRD CAUSE OF ACTION
                                                  Breach of Fiduciary Duty of Loyalty
                       2                                 (Against Velazquez)
                       3         45.    Alatus incorporates all the preceding allegations as if fully set forth
                       4   herein.
                       5         46.    At all times pertinent hereto, Velazquez was a senior employee of
                       6   Alatus, highly valued, highly compensated, and entrusted by Alatus with access to
                       7   its most important confidential information. As a result, Velazquez owed Alatus a
                       8   fiduciary duty which required him to, inter alia, devote all of his time and attention
                       9   during business hours to the business of Alatus, to refrain from engaging in a
                      10   business or business activity which competed with Alatus, and to refrain from
                      11   conducting activities in any manner inimical to Alatus’ best interests.
                      12         47.    Velazquez breached his fiduciary duties to Alatus by engaging in the
                      13   wrongful conduct alleged herein while still employed with Alatus, including but not
                      14   limited to: (1) planning and conspiring to steal Alatus trade secrets and confidential
                      15   information; (2) upon information and belief, soliciting Alatus clients to divert their
                      16   business away from Alatus with malicious intent to drive Alatus out of business;
                      17   (3) providing non-Alatus employees with unauthorized access to Alatus’ electronic
                      18   devices and systems, and Alatus’ information contained therein; and
                      19   (4) intentionally damaging Alatus’ property, including without limitation its
                      20   electronic devices such as cellular phones. Velazquez’s wrongful conduct alleged
                      21   herein occurred at a time when he continued to owe fiduciary duties to Alatus.
                      22   Velazquez utilized Alatus’ time, facilities and resources to engage in this wrongful
                      23   conduct.
                      24         48.    As a direct and proximate result of those breaches, Alatus has
                      25   sustained and will incur further damages, including but not limited to damages
                      26   reflecting lost business, lost profits, damage to its goodwill, costs of hiring and
                      27   retaining former and new employees, and costs to bring employees from other
                      28   offices to service the business, as well as the salary and other compensation paid to
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                       1   Velazquez during any period of their breaches, in amounts to be proven at trial.
                       2   Alatus has also suffered and will continue to suffer immediate and irreparable harm,
                       3   and will continue to suffer such injury until the breaches are preliminarily and
                       4   permanently enjoined.
                       5         49.     The aforementioned wrongful conduct was intentional, malicious, and
                       6   in bad faith and has subjected and will continue to subject Alatus to cruel and
                       7   unjust hardship in conscious disregard of its rights, so as to justify an award of
                       8   exemplary and punitive damages according to proof at trial.
                       9                            FOURTH CAUSE OF ACTION
                                                   Breach of Contract - Confidentiality
                      10                                  (Against Velazquez)
                      11         50.     Alatus incorporates the preceding allegations as if fully set forth
                      12   herein.
                      13         51.     Velazquez entered into written confidentiality agreements (the
                      14   “Agreements”) with Alatus that contain valid and enforceable confidentiality
                      15   provisions.
                      16         52.     Pursuant to the Agreements, Velazquez agreed to maintain and
                      17   preserve the confidentiality of Alatus’ trade secret and confidential information, and
                      18   to not directly or indirectly use, sell, show, divulge, or provide such information to
                      19   others not employed by Alatus or authorized by Alatus to receive such information.
                      20   Velazquez further agreed to not use such information for his benefit (or the benefit
                      21   of any third party), or to the detriment of Alatus or its customers.
                      22         53.     Alatus has performed all duties and obligations under the Agreements,
                      23   except as to those duties and obligations which it could not perform due to the acts
                      24   or omissions of Defendant Velazquez.
                      25         54.     By committing the above-described acts, Velazquez breached his
                      26   obligations under the Agreements. These breaches include, without limitation,
                      27   acting against the interests of Alatus while employed by Alatus, violating the
                      28   exclusivity provisions by working against the interests of Alatus, and using Alatus
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                       1   trade secrets and other confidential and proprietary information belonging to Alatus
                       2   for his own benefit or on behalf of Alatus’ competitors and/or by providing such
                       3   confidential and proprietary information to Alatus’ competitors.
                       4         55.    As a direct and proximate result of those breaches, Alatus has
                       5   sustained and will incur further damages, including but not limited to damages
                       6   reflecting lost business, lost profits, damage to its goodwill, costs of hiring and
                       7   retaining former and new employees, and costs to bring employees from other
                       8   offices to service the business, in amounts to be proven at trial. Alatus has also
                       9   suffered and will continue to suffer immediate and irreparable harm, and will
                      10   continue to suffer such injury until the breaches are preliminarily and permanently
                      11   enjoined.
                      12                           FIFTH CAUSE OF ACTION
                               Failure to Use Ordinary Care and Diligence under Labor Code § 2854
                      13                               (Against Velazquez)
                      14         56.    Alatus incorporates the preceding allegations as if fully set forth
                      15   herein.
                      16         57.    Pursuant to California Labor Code Section 2854, an employee is
                      17   required to use ordinary care and diligence throughout the course of employment.
                      18         58.    As an Alatus employee, Velazquez had a duty to use ordinary care and
                      19   diligence in connection with his employment.
                      20         59.    By deliberately engaging in the conduct set forth above, Velazquez
                      21   breached his duty to use ordinary care and diligence as an employee of Alatus, in
                      22   violation of California Labor Code Section 2854.
                      23         60.    As a direct and proximate result of Velazquez’s breach of his duty to
                      24   use ordinary care and diligence, he has been unjustly enriched and Alatus has been
                      25   damaged in amounts to be proven at trial. Alatus has also suffered and will
                      26   continue to suffer immediate and irreparable harm, and will continue to suffer such
                      27   injury until the breaches are preliminarily and permanently enjoined.
                      28
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                       1                          SIXTH CAUSE OF ACTION
                              Failure to Comply with Employer’s Directions under Labor Code § 2856
                       2                              (Against Velazquez)
                       3         61.    Alatus incorporates the preceding allegations as if fully set forth
                       4   herein.
                       5         62.    Pursuant to California Labor Code Section 2856, an employee shall
                       6   substantially comply with all the directions of his employer concerning the service
                       7   on which he is engaged, except where such obedience is impossible or unlawful, or
                       8   would impose new or unrealistic burdens upon the employee.
                       9         63.    As employees of Alatus, Velazquez was obligated to comply with
                      10   Alatus’ directives including acting in its best interests. Complying with Alatus’
                      11   directives was neither impossible nor unlawful and did not impose any unrealistic
                      12   burdens upon Velazquez. To the contrary, the realistic expectations for Velazquez
                      13   was for his to act in Alatus’ best interests at all times.
                      14         64.    By deliberately engaging in the conduct set forth above, Velazquez
                      15   breached his obligation to comply with Alatus’ directives and instead acted contrary
                      16   to Alatus’ best interests.
                      17         65.    As a direct and proximate result of Velazquez’s breach of this duty, he
                      18   has been unjustly enriched. The exact amount of this unjust enrichment will be
                      19   proven at trial. Alatus has also suffered and will continue to suffer immediate and
                      20   irreparable harm, and will continue to suffer such injury until the breaches are
                      21   preliminarily and permanently enjoined.
                      22                          SEVENTH CAUSE OF ACTION
                              Failure to Give Preference to Performance of Employer’s Business under
                      23                                 Labor Code § 2863
                                                        (Against Velazquez)
                      24
                      25         66.    Alatus incorporates the preceding allegations as if fully set forth
                      26   herein.
                      27
                      28
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                       1         67.    Pursuant to Labor Code Section 2863, an employee who has any
                       2   business to transact on his own account, similar to that entrusted to him by his
                       3   employer, shall always give the preference to the business of the employer.
                       4         68.    As set forth in detail above, Velazquez, on several occasions, engaged
                       5   in conduct that was designed to benefit him personally to the detriment of Alatus.
                       6         69.    Velazquez, by devoting his time and energy to helping himself,
                       7   violated Labor Code Section 2863.
                       8         70.    As a direct and proximate result of Velazquez’s violation of Labor
                       9   Code Section 2863, he was unjustly enriched in amounts to be proven at trial.
                      10   Alatus has also suffered and will continue to suffer immediate and irreparable harm,
                      11   and will continue to suffer such injury until the breaches are preliminarily and
                      12   permanently enjoined.
                      13                            EIGHTH CAUSE OF ACTION
                                                Violation of California Penal Code § 502
                      14                            (Against Defendant Velazquez)
                      15         71.    Alatus incorporates the preceding allegations as if fully set forth
                      16   herein.
                      17         72.    California Penal Code Section 502 provides for the imposition of
                      18   criminal fines and/or imprisonment against any person who commits, among other
                      19   things, the following acts:
                      20                (a)    “[k]nowingly accesses and without permission alters, damages,
                      21                       deletes, destroys, or otherwise uses any data, computer,
                                               computer system or computer network in order to (A) devise or
                      22                       execute any scheme or artifice to defraud, deceive or extort, or
                      23                       (B) wrongfully control or obtain money, property or data”; or
                      24                (b)    “[k]nowingly accesses and without permission takes, copies, or
                      25                       makes use of any data from a computer, computer system, or
                                               computer network, or takes or copies any supporting
                      26                       documentation, whether existing or residing internal or external
                      27                       to a computer, computer system, or computer network”; or

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                       1                (c)   “[k]nowingly and without permission provides or assists in
                       2                      providing a means of accessing a computer, computer system, or
                                              computer network in violation” of Section 502; or
                       3
                                        (d)   “[k]nowingly and without permission accesses or causes to be
                       4
                                              accessed any computer, computer system, or computer
                       5                      network.”
                       6         Cal. Penal Code § 502 (a)-(d).
                       7         73.    In addition to imposing criminal penalties, Section 502(e)(1) permits
                       8   the “owner or lessee of the computer, computer system, computer network,
                       9   computer program, or data who suffers damage or loss” by reason of any violation
                      10   of Section 502 to bring a civil action for compensatory damages, injunctive relief or
                      11   other equitable relief. Section 502(e)(2) further permits the Court in such a civil
                      12   action to award reasonable attorneys’ fees.
                      13         74.    At all times relevant herein, Alatus owned the computers, computer
                      14   systems, computer network and data now at issue.
                      15         75.    Prior to Velazquez’s termination from Alatus, Velazquez knowingly
                      16   and unlawfully accessed, or caused to be accessed, computers, computer systems,
                      17   the computer network, and data owned by Alatus, and thereby took, copied or
                      18   otherwise unlawfully used Alatus’ valuable trade secret and confidential data
                      19   contained in said computers, computer systems or computer networks. Velazquez
                      20   did so knowingly, without Alatus’ permission, and with the intent to, among other
                      21   things: (i) wrongfully control or obtain data; and (ii) wrongfully copy and use the
                      22   computer data for the benefit of himself.
                      23         76.    Velazquez’s unauthorized access to Alatus’ computer systems and data
                      24   was not carried out within the course and scope of his employment with Alatus, and
                      25   Velazquez was not accessing the electronic files in order to perform acts that were
                      26   reasonably necessary to his performance of his work assignments for Alatus.
                      27         77.    Velazquez did the acts and things herein alleged pursuant to, and in
                      28   furtherance of, the conspiracy and above alleged agreement.
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                       1         78.    Alatus has been damaged as a result of Velazquez’s violations of
                       2   Section 502, in an amount to be proven at trial.
                       3         79.    Velazquez has been unjustly enriched as a result of his violations of
                       4   Section 502, in an amount to be proven at trial.
                       5         80.    Under Penal Code Section 502, Alatus is entitled to an award damages
                       6   against Velazquez for injuries suffered to date by Velazquez’s unlawful access as
                       7   well as equitable relief or restitution for unjust enrichment by Defendants.
                       8         81.    Velazquez’s conduct was willful and malicious, performed with the
                       9   intent to do harm. Therefore, under Penal Code Section 502(e)(4), Alatus is
                      10   entitled to an award of punitive and exemplary damages.
                      11         82.    In addition, under Penal Code Section 502(e)(2), Alatus is entitled to
                      12   an award of its reasonable attorneys’ fees and costs incurred in pursuing this cause
                      13   of action against Defendants.
                      14                         NINTH CAUSE OF ACTION
                                           Misappropriation of Trade Secrets under the
                      15   California Uniform Trade Secrets Act (California Civil Code §§ 3426 -3426.11)
                                                    (Against All Defendants)
                      16
                      17         83.    Alatus incorporates the preceding allegations as if fully set forth
                      18   herein.
                      19         84.    Alatus has developed and marketed an extremely successful aerospace
                      20   and defense manufacturing business serving numerous customers for private and
                      21   defense related purposes that is highly dependent upon maintaining the secrecy of
                      22   its trade secrets and other confidential and propriety information.
                      23         85.    As a result of Velazquez’s employment with Alatus and entrusted
                      24   positions as part of Alatus’ management team, Velazquez came into possession of
                      25   information that Alatus considered to be confidential and propriety and trade secret
                      26   information having independent economic value and not generally known or readily
                      27   available to the public, including Alatus’ competitors. Alatus expended substantial
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                       1   time, energy, money and ingenuity in compiling this information based on its own
                       2   efforts and communications with clients, prospective clients, and others.
                       3         86.       The confidential, proprietary and trade secret information to which
                       4   Velazquez had access and of which Defendants came into possession includes but
                       5   is not limited to: Alatus’ customer pricing and order lists and manufacturing
                       6   blueprints. Alatus granted Defendant Velazquez with access to Alatus’ confidential
                       7   information solely for the purpose of fulfilling his responsibilities to Alatus.
                       8         87.       Alatus made reasonable efforts to ensure that the confidential and
                       9   proprietary information remained secret by, among other things, disclosing it only
                      10   to those individuals who needed the information to perform their duties, making
                      11   known to these individuals the fact that information was to be kept confidential,
                      12   maintaining reasonable security in and around its places of business, and requiring
                      13   individuals, such as Defendant Velazquez, to agree to keep its confidence including
                      14   by executing written agreements affirming their obligation to keep such information
                      15   confidential.
                      16         88.       Alatus’ confidential information constitutes protectable trade secrets
                      17   under the California Uniform Trade Secrets Act, codified at California Civil Code
                      18   sections 3426 through 3426.11 (“CUTSA”).
                      19         89.       Alatus is informed and believes, and thereon alleges, that Defendants
                      20   have violated the CUTSA by misappropriating the trade secrets embodied in Alatus
                      21   confidential information in a willful manner and with the deliberate intent to injure
                      22   Alatus’ business and to improve their own business and for their own financial gain
                      23   – including, without limitation and as further set forth above, by (1) knowingly
                      24   benefiting from the downloading of trade secret information from Alatus’ computer
                      25   servers and transferring that information to personal computers; (2) disclosing to
                      26   Alatus’ competitors confidential and trade secret information pertaining to Alatus’
                      27   finances, client revenues, and expectations for future revenue; (3) disclosing to
                      28   Alatus confidential pricing information and renewal data pertaining to Alatus
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                       1   clients; (4) using Alatus trade secrets pertaining to its clients and pricing structures
                       2   to unlawfully solicit Alatus clients to transfer to the business to Alatus’
                       3   competitors; (5) using Alatus’ trade secrets for their own benefit and that of
                       4   Alatus’ competitors; and (6) removing hard copy documents and deleting electronic
                       5   documents containing Alatus confidential and trade secret information.
                       6            90.   As a proximate result of the misappropriation of Alatus trade secrets,
                       7   Alatus has suffered, and will continue to suffer, actual damages, and Defendants
                       8   will be unjustly enriched, in sums to be proven at trial. Alatus has also suffered and
                       9   will continue to suffer immediate and irreparable harm, and will continue to suffer
                      10   such injury until the breaches are preliminarily and permanently enjoined.
                      11            91.   Under the CUTSA, Alatus is entitled to recover its reasonable
                      12   attorneys’ fees as a result of Defendants’ willful and malicious misappropriation.
                      13            92.   The misappropriation and wrongful acts of Defendants were
                      14   intentional, malicious, and in bad faith and have subjected and will continue to
                      15   subject Alatus to cruel and unjust hardship in conscious disregard of Alatus’ rights,
                      16   so as to justify an award of exemplary and punitive damages according to proof at
                      17   trial.
                      18                                  PRAYER FOR RELIEF
                      19            WHEREFORE, Alatus prays for judgment and relief against Defendants as
                      20   follows:
                      21            1.    For judgment in favor of Alatus and against Defendants on all causes
                      22   of action in the Complaint;
                      23            2.    For an Order directing Defendants to return all of Alatus’ information
                      24   and property in their possession, custody, or control;
                      25            3.    For Orders temporarily, preliminary, and permanently enjoining
                      26   Defendants and all persons or entities acting in concert with them, from directly or
                      27   indirectly:
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                       1              (a)   obtaining, using, or disclosing any of the trade secrets and/or any
                       2                    confidential and proprietary information belonging to Alatus for
                       3                    any purpose whatsoever;
                       4              (b)   accessing, retrieving, copying, deleting, destroying, altering, or
                       5                    disseminating any hard or electronic copies of documents
                       6                    containing Alatus’ trade secrets and/or confidential and proprietary
                       7                    information; and
                       8              (c)   using, on their own behalf or on behalf of Defendants, or providing
                       9                    Defendants’ or their employees, or any other third party, with
                      10                    Alatus client-specific or employee-specific information, not
                      11                    independently readily available to Defendants’ personnel, in order
                      12                    to enable them to solicit Alatus’ clients, or potential clients,
                      13                    including but not limited to any information downloaded from
                      14                    Alatus’ computers and subsequently uploaded to Defendants’
                      15                    computers.
                      16         4.     For an order to inspect Defendants personal and/or business computer
                      17   systems to determine where and to whom Alatus’ trade secrets and proprietary
                      18   information has been disseminated.
                      19         5.     For three times the amount of actual damages, including lost profits,
                      20   according to proof, as set forth herein, in an amount in excess of the jurisdictional
                      21   requirements;
                      22         6.     For restitution and disgorgement of all ill-gotten gains as set forth
                      23   herein, in an amount to be proven at trial, but at least in excess of the jurisdictional
                      24   requirements;
                      25         7.     For punitive and exemplary damages, according to proof at trial, for all
                      26   causes of action for which such damages are authorized;
                      27         8.     For reasonable attorneys’ fees and costs incurred herein as allowed by
                      28   law and pursuant to the Agreement;
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                       1         9.    For prejudgment and post-judgment interest at the maximum legal
                       2   rate, as provided by California law, as applicable, as an element of damages which
                       3   Plaintiffs have suffered as a result of Defendants’ wrongful and unlawful acts; and
                       4         10.   For any other and further relief that the Court may deem just and
                       5   proper.
                       6                                    JURY DEMAND
                       7         Plaintiff demands a trial by jury.
                       8   Dated: September 30, 2019         DLA PIPER LLP (US)
                       9
                      10                                     By: /s/ Benjamin M. Gipson
                      11                                         BENJAMIN M. GIPSON
                                                                 HECTOR E. COREA
                      12
                                                                 Attorneys for Plaintiff
                      13                                         ALATUS AEROSYSTEMS
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